                       IN THE UNITED STATES DISTRICT COURT                     FILED
                      FOR THE                 DISTRICT OF                    0ISTRICTCOURTOF GUAM
                                                  DIVISION
                           (Writethe District and Division, ifany, of              MAR 22 2016
                           the court in which the complaint is filed.)
                                                                              JEANNE G.QUINATA
                                                                                CLERKOF COURT
 %u\~ Ctotm Cifafhlb
                                                        Complaint for a Civil Case

                                                            WH6-00024
                                                        Case No.
(Write thefull name ofeach plaintiff who isfiling
                                                        (to befilled in by the Clerk's Office)
this complaint. If the names ofall the plaintiffs
cannotfit in the space above, please write "see
                                                        Jury Trial:      •   Yes   •   No
attached" in the space and attach an additional
                                                                         (check one)
page with thefull list ofnames.)


   -against-

  £dCH4i          Sec^rrti/

(Write thefull name of each defendant who is
being sued. Ifthe names ofall the defendants
cannotfit in the space above, please write "see
attached" in the space and attach an additional
page with thefull list ofnames.)




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I.   The Parties to This Complaint

     A.    The Plaintiff(s)

           Provide the information below for each plaintiff named in the complaint. Attach
           additional pages if needed.

                  Name                    f^l (fob, &lMf/SE
                  Street Address            ?'0- fe* ^7^7
                  City and County          HtoCTrtc
                  State and Zip Code           >Qw<1         f&fXl
                  Telephone Number U>")ll "^ffi^iTffffi
                  E-mail Address


     B.    The Defendant(s)

           Provide the information below for each defendant named in the complaint,
           whether the defendant is an individual, a government agency, an organization, or
           a corporation. For an individual defendant, include the person's job or title (if
           known). Attach additional pages if needed.

           Defendant No. 1

                  Name                       i?U0v\       SeC(Ar\\
                  Job or Title
                  (if known)
                                                                     3t
                  Street Address

                  City and County
                  State and Zip Code
                  Telephone Number
                  E-mail Address
                  (if known)

           Defendant No. 2

                  Name

                  Job or Title
                  (if known)
                  Street Address

                  City and County




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                      State and Zip Code
                      Telephone Number
                      E-mail Address
                      (if known)


              Defendant No. 3

                      Name
                      Job or Title
                      (if known)
                      Street Address
                      City and County
                      State and Zip Code
                      Telephone Number
                      E-mail Address
                      (if known)

              Defendant No. 4

                      Name
                      Job or Title
                      (if known)
                      Street Address
                      City and County
                      State and Zip Code
                      Telephone Number
                      E-mail Address
                      (if known)

II.   Basis for Jurisdiction

      Federal courts are courts of limitedjurisdiction (limited power). Generally, only two
      types of cases can be heard in federal court: cases involving a federal question and cases
      involvingdiversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
      under the United States Constitution or federal laws or treaties is a federal question case.
      Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
      State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
      case. In a diversity of citizenship case, no defendant may be a citizen of the same State
      as any plaintiff.




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What is the basis for federal court jurisdiction? (check all that apply)

      0        Federal
               Fe      question                         •      Diversityof citizenship

Fill out the paragraphs in this section that apply to this case.

          If the Basis for Jurisdiction Is a Federal Question

          List the specific federal statutes, federal treaties, and/or provisions of the United
          States Constitution that are at issue in this case.




B.        If the Basis for Jurisdiction Is Diversity of Citizenship

          1.       The Plaintiff(s)

                   a.      If the plaintiff is an individual

                          The plaintiff, (name)                                  _, is a citizen of
                           the State of (name)


                           If the plaintiff is a corporation

                          The plaintiff, (name)                               ., is incorporated
                          under the laws of the State of (name)
                          and has its principal place of business in the State of (name)



                   (Ifmore than one plaintiffis named in the complaint, attach an additional
                   page providing the same information for each additional plaintiff.)

                   The Defendant(s)

                   a.      If the defendant is an individual

                          The defendant, (name)                                  _, is a citizen of
                          the State of (name)                                     Or is a citizen of
                          (foreign nation)




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                      b.      If the defendant is a corporation

                              The defendant, (name)                              , is
                              incorporated under the laws of the State of (name)
                                                            , and has its principal place of
                              business in the State of (name)                                  . Or is
                              incorporated under the laws of (foreign nation)
                                                            , and has its principal place of
                              business in (name)                                 .

                      (If more than one defendant is named in the complaint, attach an
                      additional page providing the same informationfor each additional
                      defendant.)

              3.      The Amount in Controversy

                      The amount in controversy—the amount the plaintiff claims the defendant
                      owes or the amount at stake—is more than $75,000, not counting interest
                      and costs of court, because (explain):




III.   Statement of Claim

       Write a short and plain statement of the claim. Do not make legal arguments. State as
       briefly as possible the facts showing that each plaintiff is entitled to the damages or other
       relief sought. State how each defendant was involved and what each defendant did that
       caused the plaintiffharm or violated the plaintiffs rights, including the dates and places
       of that involvement or conduct. If more than one claim is asserted, number each claim
       and write a short and plain statement of each claim in a separate paragraph. Attach
       additional pages if needed.

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IV.   Relief

      State briefly and precisely what damages or other relief the plaintiff asks the court to
      order. Do not make legal arguments. Include any basis for claiming that the wrongs
      alleged are continuing at the present time. Include the amounts of any actual damages
      claimed for the acts alleged and the basis for these amounts. Include any punitive or
      exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
      actual or punitive money damages.




      Certification and Closing

      Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
      knowledge, information, and belief that this complaint: (1) is not being presented for an
      improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
      cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
      extending, modifying, or reversing existing law; (3) the factual contentions have
      evidentiary support or, if specifically so identified, will likely have evidentiary support
      after a reasonable opportunity for further investigation or discovery; and (4) the
      complaint otherwise complies with the requirements of Rule 11.

      A.       For Parties Without an Attorney

               I agree to provide the Clerk's Office with any changes to my address where case-
               related papers may be served. I understand that my failure to keep a current
               address on file with the Clerk's Office may result in the dismissal of my case.

               Date of signing:         V23-. 20]C
               Signature of Plaintiff
               Printed Name of Plaintiff     Y<U(14 OPt/fift. CUtO^tf)

      B.       For Attorneys

               Date of signing:             , 20   .




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4' "


        Signature of Attorney
        Printed Name of Attorney
        Bar Number

        Name of Law Firm

        Address

        Telephone Number
        E-mail Address




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